        Case 1:20-cv-03102-SMJ      ECF No. 5   filed 09/11/20   PageID.27 Page 1 of 2
                                                                            FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON



1                                                                  Sep 11, 2020
                                                                       SEAN F. MCAVOY, CLERK

2

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     JOSHUA GLAZIER,                             No. 1:20-cv-03102-SMJ
5
                               Plaintiff,
6                                                ORDER DISMISSING ACTION
                  v.                             FOR FAILURE TO COMPLY
7                                                WITH FILING FEE AND IN
     SHERIFF and UNION GAP POLICE,               FORMA PAUPERIS
8                                                REQUIREMENTS
                               Defendants.
9

10

11         By Order filed August 18, 2020, the Court directed Plaintiff Joshua Glazier,

12   a pro se prisoner at the Yakima County Jail, to comply with the requirements of 28

13   U.S.C. § 1915(a)(2) by submitting a certified copy of his trust fund account (or

14   institutional equivalent) for the six months immediately preceding the submission

15   of his application to proceed in forma pauperis on July 9, 2020. ECF No. 4 at 1. In

16   the alternative, the Court instructed Plaintiff to pay the $400.00 fee ($350.00 filing

17   fee plus $50.00 administrative fee) to commence this action under 28 U.S.C. § 1914.

18   Id. at 2. Because Plaintiff had not filed a complaint, he was also supplied a Prisoner

19   Civil Rights Complaint form and directed to complete and submit it to the Court

20   within twenty-one days. Id. Plaintiff did not comply with the Court’s directives and


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     AND IN FORMA PAUPERIS REQUIREMENTS – 1
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1    has filed nothing further in this action. Therefore, it appears Plaintiff has abandoned

2    this litigation.

3           Accordingly, for the reasons set forth above and in the Court’s prior Order,

4    ECF No. 4, IT IS HEREBY ORDERED:

5           1.     This action is DISMISSED without prejudice for failure to comply

6                  with the filing fee and in forma pauperis requirements of 28 U.S.C. §§

7                  1914 and 1915.

8                  A.    The Clerk’s Office is directed to ENTER JUDGMENT and

9                        CLOSE this file.

10          2.     The Court certifies that any appeal of this dismissal would not be taken

11                 in good faith and would lack an arguable basis in law or fact.

12          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

13   provide copies to pro se Plaintiff at his last known address.

14          DATED this 11th day of September 2020.

15                       _________________________
                         SALVADOR MENDOZA, JR.
16                       United States District Judge

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     ORDER DISMISSING ACTION FOR FAILURE TO COMPLY WITH FILING FEE
     AND IN FORMA PAUPERIS REQUIREMENTS – 2
